               Case 4:15-cv-00050-RGE-HCA Document 147 Filed 11/13/18 Page 1 of 1


                            United States District Court for the Southern District of Iowa

Presiding: Honorable Rebecca Goodgame Ebinger
Case No. 4:15-cv-00050                      : Clerk’s Court Minutes – Pretrial Conference
______________________________________________________________________________________________________________________________________

Plaintiff(s)                                               : Defendant(s)
                                                           :
DUSTIN BURNIKEL                                            : MICHAEL FONG; GREG WESSELS; CITY
                                                           : OF DES MOINES
                                                           :
                                                           :
                                                           :
_______________________________________________________________________________________________________________________________________

Plaintiff(s) Counsel: Justin K. Swaim; James Wyrsch; Javad Khazaeli; Kiara Nayo Drake


Defendant(s) Counsel: John O. Haraldson

Court Reporter: Terri Martin                                :   Interpreter: N/A
_______________________________________________________________________________________________________________________________________

Motion(s) for Ruling:                                                            Ruling           /     Ruling Reserved
______________________________________________________________________________________________________________________________________
                                                                                                  :
                                                                                                  :
                                                                                                  :
                                                                                                  :
_______________________________________________________________________________________________________________________________________

Proceedings:
Parties present. Court addresses pretrial issues. Court asks parties to submit a proposed joint statement of the
case for Phase II. Court addresses issue of timing of presentation of evidence of punitive damages. Court orders
evidence of punitive damages will be presented during Phase II. Defense presents argument regarding punitive
damages. Court addresses issue of recent of Iowa Supreme Court precedent brought to the Court's attention by
the Plaintiff. Court addresses the issue of jury instructions regarding stipulated facts; Court will read the
instructions regarding stipulated facts at the beginning of the plaintiff's case. Court instructs parties as to how
final jury instructions will be determined. Parties present arguments regarding proposed voir dire questions.
Court addresses issue of playing video of expert testimony and demonstratives. At 9:05 a.m., Court recesses.




Time in Court: 31 min.



Time Start: 8:34 am
Time End: 9:05
Date: Nov. 13, 2018                                                                       /s/ Helen Marie S. Berg
                                                                                          __________________________
                                                                                          Deputy Clerk
